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EXHIBIT E
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Civil Action No, 319-me-B00065-SK

PROOF OF SERVICE
(Tails seetivn should aot be filed with the court unless required by Fed. R, Cty. P. 45.)

Treceited this subpociie fot funwe of miividual and tte, Yum) CUSTODIAN OF RECOROS FOR REDDIT, INC,
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SERVICE. AGENT FOR SERVICE OF PROCESS BY SERVING BECKY DEGEORGE PROCESS SPEGIALIST
wa ft 2710 Gateway Oaks Drive #1S0N Sacramento. CA 95833 | ON fdair) 9472412019 al OZ 1G PM 2 OF

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(oless thé subpoena waa iesved on belsif of dic United Guus, or one of its officers or agents, 1 have also
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I declare under penalty of perjury Hut this information ix tre.

Date: _ 01/24/2019 f

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_HENRY GARGIA (REG, No. 2015-01 COUNTY SACRAMENTO}. |
Pristesd meme and ttle

EXPRESS NETWORK
P.O. BOX 861057

LOS ANGELES, CA 90088
(213) 975-8850

dnswee t gables

Addaingal infarquation regarding atiempted vervies, sie.:

(WHQ-0125267,MM)}
